USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 1 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 2 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 3 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 4 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 5 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 6 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 7 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 8 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 9 of 10
USDC IN/ND case 3:14-cv-00315-RL document 36-19 filed 07/14/15 page 10 of 10
